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David Abrams, Attorney at Law
305 Broadway Suite 601
New York, New York 10007
Tel. 212-897-5821 dnabrams@gmail.com

United States District Court
Southern District of New York
___________________________________
                                         )
State of New York ex rel.                )
TZAC, Inc.                               )
                                         )
                      Plaintiff-Relator, )
                                         )
              - against -                )       No.: 1:20-cv-02955-GHW
                                         )
                                         )
New Israel Fund,                         )
                                         )
                      Defendant.         )
____________________________________)



 Memorandum of Law in Opposition to Motion to Dismiss TZAC’s Amended Complaint




On the Brief: Chaya-Bracha Walkenfeld, (not admitted)
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       The Zionist Advocacy Center (“TZAC” or “Relator”), hereby submits its opposition to

Defendant’s Motion to Dismiss TZAC’s Amended Complaint with Prejudice.

                                           Introduction

       Relator filed this qui tam action on behalf of the State of New York. The complaint

alleges that Defendant, New Israel Fund (“NIF”) falsely certified in its IRS 990 tax returns that it

did not “direct[ly] or indirect[ly]” support or oppose candidates for public office. Relator alleges

that contrary to its certifications NIF constantly and systematically supported and opposed

candidates for public office in Israel.

       TZAC filed an amended complaint, as of right, pursuant to Rule 15. TZAC’s amended

complaint should not be dismissed. First, the action is not barred by the New York State public

disclosure bar because TZAC’s information as set forth in the amended complaint is based on

information that is “merely on the internet” — an exception to the New York State public

disclosure bar and information in a foreign language another exception to the disclosure bar.

Second, TZAC’s theory of fraud is based off of NIF’s New York tax obligations which require

tax exempt organizations to either file a 990 tax return with the Internal Revenue Service or file a

CT-247 form which requires that “the entity meet the qualifications for exemption from federal

income tax.” In both circumstances NIF would in effect be fraudulently certifying that it does

not support or oppose candidates for public office. Last, TZAC has sufficiently pleaded the facts

which show that NIF has knowingly violated its tax-exempt status and thus that NIF has

committed fraud on the State of New York. For all of these reasons, the Amended Complaint

should not be dismissed.




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                                  Facts & Procedural History

       NIF was founded in 1979 with a stated purpose of advancing democracy and equality of

Israel, yet NIF constantly demonizes the Jewish state. (See Amended Complaint Para. 2) NIF

has been recognized as exempt from federal and state income tax and publishes its 990 tax

returns for review by the public. (See Amended Complaint Para. 5).

       TZAC’s complaint was filed in State Supreme Court in August 2019. (Docket #1,

Exhibit A). The Complaint alleges that NIF maintained its tax-exempt status both at the Federal

level and in New York by certifying that it did not “direct[ly] or indirect[ly]” engage in

electioneering by supporting or opposing candidates for public office. The Complaint also sets

forth numerous examples where NIF did in fact engage in electioneering either directly or

through its grantees. (See Amended Complaint Para. 24, 25, 27, etc.) Thus, NIF maintained its

tax-exempt status by means of fraudulent certifications and avoided millions of dollars in New

York State Taxes.

       The State of New York declined to intervene; the State Court unsealed the action and

after having been served; NIF removed it to this Court. (See Docket #1) The Complaint alleges

that NIF engaged in electioneering while repeatedly making fraudulent statements on the form of

its Form 990 tax returns whereby NIF certified that it did not support or oppose political

candidates running for public office; and that as a result NIF was treated as exempt from taxes in

New York.     (See Docket #1 Exhibit B).

       Defendant moved to dismiss pursuant to Rule 12(b)(6) and in response, Relator amended

the complaint as of right pursuant to Rule 15(a)(1)(B) and submitted an opposition brief. The

Court ruled the Motion to Dismiss as well as the Opposition Brief to be moot due to the

Amended Complaint. (See Docket #33)



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        As set forth in more detail below, NIF's representations to the Internal Revenue Service

to maintain its federal tax-exempt status result in state level tax exemption of NIF. Further as set

forth in more detail below, when non-profits are not recognized by the federal government as a

tax-exempt organization, they must nonetheless complete form CT-247 which requires

certification that the not-for-profit meets the Federal standards for exemption. Thus, there is no

way for a not-for-profit to obtain exemption from New York taxes without certifying compliance

with the federal standards.

                                              Argument

1.      The Public Disclosure Bar Does Not Bar This Action

        The New York False Claim Act’s “public disclosure bar” does not prohibit this lawsuit.

It must be emphasized that in 2010, The New York False Claims Act was amended. The

purpose as then Assemblyman Eric Schneiderman said, was to make a “False Claims Act on

steroids"1 For this reason, the New York False Claims Act was amended to be stronger than its

federal counterpart, by allowing more relators to be successful in qui tam actions. While the

Federal False Claims Act -- 31 U.S.C. § 3729 et seq. -- states that the public disclosure bar

applies to all matters disclosed in the news media, the State Code is different and stronger. New

York State Finance Law Section 190(9)(b)(iii) makes clear that “allegations or transactions are

not publicly disclosed in the news media merely because information of allegations or

transactions have been posted on the internet or on a computer network.” This section was

added in during the 2010 amendment process.




1
 https://www.nysenate.gov/newsroom/press-releases/eric-t-schneiderman/senator-eric-t-schneiderman-
shepherds-historic-anti

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       As set forth in more detail below, the Amended Complaint is limited to allegations that

clearly fall outside New York State’s generous standards; put simply, all the allegations concern

transaction that are on websites but not news media.

       NIF’s citation of State ex rel. Seiden v. Utica First Ins. Co., 943 N.Y.S.2d 36, 39 (1st

Dept. 2012) is misguided. Seiden was filed in 2009 before the New York False Claims Act was

amended, so it clearly has nothing to do with this case at issue. Furthermore, in Seiden the Court

ruled that it needed to look at federal law when interpreting state law regarding what constitutes

a reverse false claim. However, the public disclosure bar section of the New York False Claims

Act is no longer identical to the public disclosure bar of the Federal False Claims Act. NIF’s

citation of State ex rel. Raw Data Analytics LLC v. JP Morgan Chase & Co., 108 N.Y.S.3d 796,

802 & n.3 (Sup. Ct. 2019) is similarly misguided because Raw Data Analytics discusses federal

law when interpreting state law about reverse false claims, not in regards to the public disclosure

bar. NIF’s citation of Chen ex rel. U.S. v. EMSL Analytical, Inc., 966 F. Supp. 2d 282, 305

(S.D.N.Y. 2013) is similarly not applicable because it was a federal action.

       It must be emphasized that this case is not a parasitic case where Relator learned about

fraud through casual perusal of newspaper articles. Instead, this case took months of research

and work to pull together all the pieces and be able to allege that NIF is electioneering.

Therefore, the policy behind the public disclosure bar is upheld by not dismissing this case

pursuant to the public disclosure bar.

       The 990 tax returns do not trigger the public disclosure bar because even assuming that

they are government reports, they do not say anything substantial about the fraud. In fact, the

990 tax returns give absolutely no indication that there was any fraud. In United States ex rel.

Foreman v. AECOM, No. 16 cv 1960 (S.D.N.Y. Apr. 14, 2020), the Court ruled that, “the bar is



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triggered if 'material elements' of the fraud have been publicly disclosed.” See also Chen ex rel.

U.S. v. Emsl Analytical, Inc. 966 F. Supp.2d 282, 298 (S.D.N.Y. 2013) (“earlier disclosures will

bar a relator’s claim if they were ‘sufficient to set the government squarely upon the trail of the

alleged fraud.") (citation omitted). The IRS 990 forms at issue in this matter do not set the

government on the trail of any fraud.

       The same is true regarding Relator’s allegations of the identity of NIF’s grantees. This

grant information, to the extent it is disclosed through any news media outlets, still does not

trigger the public disclosure bar because knowing to which organizations NIF gives grants does

not set the government on the trail of fraud.

       The electioneering conduct alleged in the Amended Complaint is not publicly disclosed

in the news media. There is no public disclosure as defined by Finance Law Section

190(9)(b)(iii) because all the allegations fell into an exception; they were all “merely… posted

on the internet or on a computer network.” That amendment was also noted in New York State

Assembly Memorandum in Support of Legislation, ch 379 at 9, 2010 NY Assembly Bill

A11568-A, Bill Jacket.

       Under the more constricted federal False Claims Act the court in U.S. ex rel. Radcliffe v.

Purdue Pharma, L.P., 582 F. Supp. 2d 766, 772 (W.D. Va. 2008) did not construe all

information on the internet to constitute news media. And, as mentioned previously, the State

False Claims Act and public disclosure bar was written to be stronger than its federal counterpart

and should be construed as such.

        A company’s own website clearly does not constitute news media, except when that

company is itself a news organization. NIF has nowhere claimed to be a news organization,

rather it is a charitable organization. Furthermore, anything posted on an organization’s own



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Facebook or other social media accounts is not news media because it is used as an extension to,

or even in some cases instead of, an organization’s own website. Thus, NIF’s own website as

well as its Facebook page does not constitute news media and is just mere posting on the

internet. Additionally, NIF’s grantees’ websites and Facebook pages are merely posted on the

internet and not news media.

       NIF’s website as well as its’ grantees’ websites are not news media, because otherwise

that amendment to the New York Act would have been extraneous.

       Furthermore, according to NIF’s definition of the New York State public disclosure bar

no complaint could be successful except for one brought under the original source exception,

which is clearly not what the State assembly intended. Thus, all the allegations of electioneering

fall outside the public disclosure bar.

       There is no news report regarding the allegation that NIF helped its grantee to gather

names for a petition to disqualify a candidate. See Amended Complaint Para. 24. There is an

article on NIF’s website, which as explained above, does not constitute news media. Relator

alleges that Israel Religious Action Center (“IRAC”) electioneered in front of the Central

Election Commission and Supreme Court in 2015. See Amended Complaint Para. 27. These

allegations were not covered in news reports. News reports did cover the proceedings; however,

importantly the news reports failed to mention that it was an attorney from IRAC who presented

the case. Mossawa electioneered through its own website, Amended Complaint Para. 29, and as

explained previously merely posting on the internet is not news media. Mossawa’s sister

organization was acting as an extension of Mossawa in its posting and is thus also not news

media. Similarly, Relator's allegations concerning Adalah are limited to matters on Adalah's

(and NIF's) own web sites as opposed to news media.



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       Adam Teva, and Council for Peace and Security’s (“CPS”) electioneering activities

which were discussed in the Amended Complaint Paragraphs 30 and 34 were not publicly

disclosed via news media. Adam Teva electioneered by asking candidates to sign a pledge. The

request to sign the pledge as well as the pledge itself was on its own website and written in the

Hebrew language. CPS posted big signs in Israel; however, there is no indication on the signs

that they are from Council for Peace and Security, and the signs are also written in Hebrew.

Furthermore, while CPS has a Facebook page and YouTube, the signs and videos on these sites

are in Hebrew, so the average American would not understand them. Even if these Hebrew signs

had been published in the news media, they would not count. In US ex rel. Yannacopolous v.

General Dynamics, 315 F. Supp. 2d 939 (N.D. Ill. 2004), the court ruled that there is no public

disclosure to the American public when the information is divulged in a foreign publication

especially if published in a foreign language. Exhibit G4 does not refute this point because it is

not clear that the organization mentioned in Exhibit G4 is the same organization as CPS.

2.     TZAC’s Tax Fraud Theory is Consistent with New York Law.

       TZAC contends that NIF defrauded New York by using a fraudulently maintained §

501(c)(3) tax exemption to avoid New York taxes under 20 N.Y.C.R.R. § 1-3.4(b)(6). The

regulation as understood and explained by TZAC is understood applied the same way by the

State of New York.

       NIF is misguided when it says that it only needs to be a non-profit in order to receive tax

exemption because there is a subparagraph which qualifies this sentence when it says, “If a

corporation organized other than for profit is denied exemption from taxation under the Internal

Revenue Code, such corporation will be presumed subject to [the franchise tax].”




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       Defendant cites Advisory Op. Pet. No. C100317A, 2010 WL 2721216, at *2 (N.Y. Dep’t

Tax. & Fin. Jun 23, 2010) and claims that this proves that it does not need to be a recognized

non-profit by the Internal Revenue Service in order to be exempt from New York State Taxes.

This argument is meritless since New York does not have an automatic tax exemption for all not-

for-profits. The opinion explains, a non-profit which does not have federal tax exemption is

presumed to be taxable, unless it fills out a form in which it has to certify that it can be qualified

as a federal tax-exempt organization. If such organizations do not qualify by obtaining a federal

exemption, the alternate path still requires them to certify compliance with the same (federal)

standards.

       Indeed, the very opinion relied upon by the Defendant makes this clear. The opinion

relied on by NIF directed the taxpayer at issue to complete State Form CT-247 which form

contains the following question and statement:

       Does the entity meet the qualification for exemption from federal income tax? If No,
       stop. You do not qualify as an exempt organization.

       A copy of Form CT-247 is attached hereto for the Court's reference. If the Court deems

it necessary, Relator respectfully requests leave to further amend the Amended Complaint in this

matter to incorporate Form CT-247 by reference.

       “Failure to have a federal exemption creates only a presumption of taxability” and “this

presumption may be rebutted” if the organization is able to certify that it meets the qualification

for exemption from federal income tax.

       Thus it is clear that in order to qualify for a New York tax exemption, not-for-profits

must adhere (and certify adherence to) to the federal requirements whether it is done indirectly

(as was the case with NIF) or indirectly. Either way, NIF was not entitled to New York tax

exemption and maintained its status only through false certifications.

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       The false certifications by NIF are material because if NIF was not falsely certifying in

the 990 forms it would have to be falsely certifying in the CT-247 form, so the false certification

causes NIF to be liable under the New York False Claims Act.

3.     The Activities Alleged in the Complaint Were Knowing Violations of
       § 501(c)(3):

       It is clear from the Amended Complaint that NIF knew that its actions were in violation

of Section 501(c)(3). First, it electioneered itself and it had a requirement that its grantees do not

electioneer, to retain its tax-exempt status. In any event the 990 certification clearly provides

that electioneering cannot be done “direct[ly] or indirect[ly].” Second the conduct alleged is a

clear violation and “knowingly” includes, “act[ing] in reckless disregard of the truth or falsity of

the information” and “acting in deliberate ignorance of the truth or falsity of the information”

New York State Finance Law Section 188(3).

       A.      TZAC has Attributed the Conduct of NIF’s Grantees to NIF

       Many of the electioneering allegations, found in the Amended Complaint, describe

conduct by NIF’s grantees because NIF is a charitable organization and much of its work is

accomplished through distributing grants. Furthermore, NIF has a requirement on its website

which states that NIF does not give money to organizations which “participate in partisan

political activity.” (Amended Complaint Para. 31). It seems that NIF has such a requirement in

order to comply with its tax-exempt status of not supporting or opposing candidates for public

office. However it appears, NIF pays no heed to its own requirement, looks the other way, and

in some cases specifically gives money to organizations which electioneer.

        The Amended Complaint alleges that multiple NIF grantees engaged in conduct which

constitutes electioneering. Even if NIF was not directly involved, NIF was supportive of its

grantees in those efforts and posted that it was proud of its grantees for their work; in essence,

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that is indirect electioneering. It is analogous to a grantor declaring how proud it is that its

grantee endorsed a political candidate, thereby leading people to think that the grantor is also

endorsing that political candidate. Indeed, the form 990 clearly applies to electioneering that is

done “direct[ly] or indirect[ly].”

       The Amended Complaint Para. 32 discusses that NIF knows about all the activities of its

grantees because NIF requires that the grantees report information and NIF itself monitors the

actions of its grantees to ensure that the grantees are following NIF’s requirements. Thus, even

putting aside NIF's direct activities in collecting signatures, the allegations in the Amended

Complaint show with particularity that at a minimum NIF acted recklessly with respect to its

grantees' electioneering activities. See New York State Finance Law Section 188(3)(iii)

("knowingly" includes "acting in reckless disregard for the truth or falsity of [] information.")

       B.      TZAC Did Plead that NIF “Knowingly” Misrepresented Its Compliance with
               § 501(c)(3).

       As set forth in detail in the Complaint in this matter, Relator’s allegations do not merely

show permissible issue advocacy, rather, Relator’s allegations show that NIF has repeatedly

engaged in promoting and opposing candidates running for public office. TZAC’s effort to

enforce basic state tax law should not be rejected because that will hinder the state in the future

from enforcing its own tax laws. For example, the Complaint alleges that Council for Peace and

Security, a grantee of NIF, opposed Benjamin Netanyahu’s race in the 2015 Israeli elections and

worked to convince Israelis to vote against him. That falls under the most clear-cut definition of

opposing a candidate for office.

       Further, NIF states that because it did not know that what it was doing was illegal, and

the False Claims Act has a knowledge requirement, it was not in violation. However

“knowingly” does not mean only actual knowledge and includes, “act[ing] in reckless disregard

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of the truth or falsity of the information” and “acting in deliberate ignorance of the truth or

falsity of the information.” New York State Finance Law Section 188(3).

       By supporting Council for Peace and Security, NIF either had actual knowledge that it

was electioneering or was acting in reckless disregard of the truth. The Internal Revenue

Website states clearly that, “public statements of position (verbal or written) made on behalf of

the organization in favor of or in opposition to any candidate for public office clearly violate the

prohibition against political campaign activity.” New Israel Fund, through Council for Peace

and Security clearly violated that directive. If NIF did not even bother to do basic research on

what constitutes electioneering, its conduct is clearly “knowing” within the meaning of the State

False Claims Act.

       As set forth in the Amended Complaint, NIF’s grantees advocated for certain parties and

candidates to be banned from running in the elections and other parties and candidates to be

allowed. This activity does not incidentally benefit and harm political candidates, but purposely

benefits and harms particular candidates. Fulani v. League of Women Voters Education Fund,

882 F.2d 621 (2d Cir. 1989) has no bearing on this case. In Fulani the court ruled that the Fund

was holding two separate debates for the democrat and republican primary, not a general election

debate and since Fulani was only running in the general election, the Fund did nothing wrong by

not allowing her to join the debate. See id. at 628-630. In that case, the Fund was not

electioneering because Fulani was not running in that election. Here, the activity purposely

benefits and harms candidates in specific elections. The American Civil Liberty Union

Foundation (“ACLU”) cases related to Ohio A. Phillip Randolph Institute v. Smith, 335 F. Supp.

3d 988 (S.D. Ohio 2018) and its briefs relating to Rucho v. Common Cause, 139 S. Ct. 2484

(2019) and Vieth v. Jubelirer, 541 U.S. 267 (2004) have no bearing on this case. In those



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matters, the ACLU was trying to strike down partisan gerrymanders which incidentally had a

bearing on specific candidates or parties. In this case, harming and benefiting candidates was not

a side effect of NIF’s actions but the main purpose.

         Further, Rev. Rul. 72-513, 1972-2 C.B. 246 has no bearing on this case. In that case, the

Internal Revenue Service ruled that a university did not engage in partisan political activity by

providing office space and financial support to a student newspaper that endorsed candidates.

The reasoning behind this ruling clearly has no implication on this case. An organization

organized for an educational purpose is exempt under the code and educational means training or

instruction to develop his capabilities. In that case, the newspaper is an academic program or

function and editorial opinions which endorse candidates is considered a feature in legitimate

journalism. Here NIF is not an educational institution, but rather a charitable one. NIF is not

supporting and opposing candidates as an extension of any educational policy, but rather NIF

chooses its grantees and gives money and support to organizations with which NIF agrees. Thus,

NIF has the responsibility to choose carefully, and NIF on its own website says that one of its

funding requirements is to not give funding to organizations which electioneer. Furthermore,

here the publication is allowed to fund editorial positions which endorse political candidates;

however, a president of a university would not be allowed to endorse a political candidate in a

newspaper, even if the president payed for that section of the newspaper with his personal funds

and writes that his endorsement is just a personal opinion2. This makes it clear that NIF as a

charitable organization, not educational, definitely cannot use Rev. Rul. 72-513, 1972-2 C.B. 246

to claim that their electioneering actions are allowed.




2
    https://www.irs.gov/pub/irs-drop/rr-07-41.pdf
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       It is not ambiguous whether the alleged conduct of NIF is a violation of its tax-exempt

status. It is clear that the alleged conduct of NIF has been to engage in partisan political activity

which violates its tax-exempt status. NIF knows that telling people to vote against a candidate is

clearly electioneering. NIF had no problem funding and working together with CPS even though

CPS was clearly telling voters to not vote for a specific candidate. Furthermore, NIF as alleged

in the Amended Complaint, monitors its grantees’ actions, so NIF has knowledge (or at a

minimum is reckless) as to whether its grantees have been electioneering on a constant basis.

       It is important to emphasize that if this matter proceeds, the heavens will not fall. Under

applicable law, the State of New York retains full authority to settle or dispose of this matter,

even over Relator's objections. Nor will there be a tidal wave of similar lawsuits inasmuch as the

type of electioneering engaged in by the New Israel Fund is very unusual.




                                     [continued on next page]




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                                          Conclusion

       For the foregoing reasons, TZAC’s Amended Complaint is not barred by New York’s

public disclosure bar, is consistent with New York tax law, and does plead a valid claim. For all

of these reasons, Relator’s Amended Complaint should not be dismissed. Further, in the event

that the Court deems the Amended Complaint to be deficient, Relator respectfully requests a

further opportunity to amend.




                                             David Abrams, Attorney at Law
                                             Attorney for Plaintiff-Relator
                                             Zionist Advocacy Center

                                             501 Broadway Suite 601
                                             New York, NY 10007
                                             Tel. 212-897-5821
                                             Fax 212-897-5811

       Dated: September 13, 2020
       New York, New York




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                                                                                  Staple forms here


                       CT-247                            New York State Department of Taxation and Finance

                                          (8/11)
                                                         Application for Exemption from Corporation Franchise
                                                         Taxes by a Not-for-Profit Organization
			            Legal name of corporation					                                            Employer identification number                       For office use only
Mailing name
and address




		 Mailing name (if different from legal name)
			 c/o
			 Number and street or PO box		                           City		                              State                ZIP code


Principal business activity						                                                        Date tax exemption claimed from                      For audit use only


Form of organization (mark an X in the appropriate box)						                            Business/officer telephone number
Corporation                 Association            Trust               Other             (            )
Date of formation			                                 State or country of incorporation                                                        Taxable               Exempt


Indicate exact name of the law under which the entity was formed (general corporation, not-for-profit, membership, etc.). Cite statutory provisions.


Federal return was filed on (mark an X in one): Form 990        Form 990‑T               Form 1120                 Other:
For lines 1 through 7, mark an X in the Yes or No box
 1 Is the entity organized and operated as a not-for-profit organization?...................................................................... Yes                         No

 2 Is the entity authorized to issue capital stock? ( If Yes, also mark an X in the appropriate box below.)............................. Yes                                No
   Title holding company            Collective investment                Other:
   List shareholders:

 3 Does any part of the net earnings of the organization benefit any officer, director, or member?............................. Yes                                         No

 4 Does the entity meet the qualifications for exemption from federal income tax? (See General information on page 2.)........ Yes                                          No
   If No, stop. You do not qualify as an exempt organization.

 5 Did the entity apply for federal exemption?.............................................................................................................. Yes            No
   If Yes, indicate date of exemption                                         . Attach a copy of your federal exemption letter.

 6 Is the entity engaged in an unrelated business activity at a location in New York State?........................................ Yes                                     No

7 Is the entity operating as a trust under Internal Revenue Code (IRC) section 401(a) and exempt from federal
	  income tax under IRC section 501(a)?.................................................................................................................. Yes               No
8 List location and type of activity for each office and other places of business (attach separate sheet if necessary).
   Location                                                                  Nature of activity


 9 List officers, employees, agents, and representatives in New York State and briefly describe their duties (attach separate sheet if necessary).
          Name                                                                               Title                    Duties


10 List type and use of real property owned in New York State (attach separate sheet if necessary).
    Type                                                           How used



11 Describe any New York State activities not shown above (attach separate sheet if necessary).


Certification: I certify that this application and any attachments are to the best of my knowledge and belief true, correct, and
complete. Willfully filing a false application is a misdemeanor punishable under the Tax Law.
                  Printed name of authorized person                       Signature of authorized person                          Official title
Authorized
 person            E-mail address of authorized person                                                              Telephone number                       Date
                  		                                                                                                (      )
    Paid          Firm’s name (or yours if self-employed)		                                                 Firm’s EIN                             Preparer’s PTIN or SSN
  preparer        Signature of individual preparing this application    Address                                                 City                    State       ZIP code
    use
    only          E-mail address of individual preparing this application		                                              Preparer’s NYTPRIN                Date
   (see instr.)
